                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
                               AT GREEN BAY
______________________________________________________________________________

BRIAN G. HEYER,                                             CASE NO. 1:19-cv-00015-WCG
           Plaintiff,

       vs.
                                                            Chief Judge William C. Griesbach
EXPERIAN INFORMATION SOLUTIONS,
INC.; TRANS UNION, LLC; EQUIFAX INC.;
and EQUIFAX INFORMATION SERVICES, LLC;
            Defendants.
______________________________________________________________________________

JOINT STIPULATION REGARDING WITHDRAWAL OF PLAINTIFF’S MOTION TO
       STRIKE AND TRANS UNION LLC’S AFFIRMATIVE DEFENSES #1-5
______________________________________________________________________________

       Plaintiff Brian Heyer (“Plaintiff”), and Defendant Trans Union, LLC (“Trans Union”), by

counsel, hereby jointly stipulate and agree that Trans Union’s Affirmative Defenses 1 through 5

and Plaintiff’s Motion To Strike filed on March 21, 2019 [Doc. No. 21] are withdrawn. Plaintiff

and Trans Union further stipulate:

       1.       On January 2, 2019, Plaintiff filed his Complaint in the above-captioned matter

[Doc. No. 1].

       2.       On March 8, 2019, Trans Union filed its Answer To Plaintiff’s Complaint and

Affirmative Defenses [Doc. No. 15].

       3.       On March 21, 2019, Plaintiff filed his Motion to Strike Defendant Trans Union

LLC's Affirmative Defenses [Doc. No. 18].

       4.       On March 28, 2019, the undersigned counsel confirmed with Plaintiff that he is not

asserting any claims as to the accuracy of Trans Union’s reporting nor are his claims related to or

are seeking relief under 15 U.S.C § 1681e or 1681i. Accordingly, Plaintiff agreed to withdraw his




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Motion To Strike in its entirely in exchange for Trans Union’s withdrawal of its Affirmative

Defenses 1 through 5. However, Trans Union reserves the right to reassert these affirmative

defenses should Plaintiff amend his pleadings to assert a claim under 15 U.S.C § 1681e or 1681i.

       5.     Accordingly, Plaintiff, Brian Heyer and Defendant Trans Union, LLC by counsel,

hereby stipulate and agree that Trans Union’s Affirmative Defenses 1 through 5 and Plaintiff’s

Motion To Strike are withdrawn.


                                                      Respectfully submitted,



                                                       s/ J. Robert Weyreter
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                                                      Lead Counsel for Defendant Trans Union,
                                                      LLC



                                                      s/_Brian G. Heyer (with consent)
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                                                      Pro Se Plaintiff




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